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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       Case No. 1:21-cr-444 (JEB)
               v.                           :
                                            :
BRIAN CHRISTOPHER MOCK,                     :
                                            :
                      Defendant.            :


                             MOTION TO SEAL AND
                    FOR LEAVE TO FILE MATERIAL UNDER SEAL

       The United States of America respectfully moves for entry by this Court of an order sealing

the defendant’s pending Motion for Reconsideration of Detention Order, ECF No. 46, and

permitting the sealed submission of the government’s forthcoming response to it. As grounds for

the motion, the government states that the defendant’s motion and the government’s forthcoming

response contain identifying information about witnesses that is covered by the protective order

issued in this case. See ECF No. 27.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            D.C. Bar Number 481052


                              By:            /s/ Michael M. Gordon
                                           MICHAEL M. GORDON
                                           Florida Bar No. 1026025
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